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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

             Plaintiff,                              Case No. 1:20-cr-183

 v.                                                  Hon. Robert J. Jonker


 ADAM DEAN FOX,
 BARRY GORDON CROFT, JR.,
 KALEB JAMES FRANKS,
 DANIEL JOSEPH HARRIS,
 BRANDON MICHAEL-RAY CASERTA,
                                              /
             Defendants.

                                NOTICE OF HEARING

TAKE NOTICE that a hearing on the following motion(s) has been
rescheduled as set forth below:


Motion(s):                Motions to Compel (ECF No. 225, 258)
Date/Time:                September 2, 2021 10:00 AM
                          (previously set for same date and time in Judge Quist’s courtroom (499))
Magistrate Judge:          Sally J. Berens
Place/Location:            699 Federal Building, Grand Rapids, MI




                                               SALLY J. BERENS
                                               U.S. Magistrate Judge

 Dated: September 1, 2021              By:      /s/ Jenny Norton
                                               Courtroom Deputy
